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                             Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                      Chapter 11

    SEARS HOLDINGS CORPORATION, et al.,                         Case No.: 18-23538 (RDD)
                                                                Jointly Administered
                                Debtors.



         ORDER GRANTING MOTION OF CERTAIN PERSONAL
       INJURY AND DEATH CLAIMANTS FOR RELIEF FROM THE
AUTOMATIC STAY PURSUANT TO SECTION 362(d) OF THE BANKRUPTCY CODE

             Upon the motion, dated March 26, 2019 (ECF No. [ ]) (the “Motion”)1 of Steven R. Wolf,

as Administrator of the Estate of Breanna N. Africa, deceased, and Carmine Molinaro, Jr. and

Colette Molinaro, as Parents and Natural Guardians of McKenzie Molinaro, a minor

(“Movants”) for an Order for Relief from the Automatic Stay pursuant to Section 362(d) of the

Bankruptcy Code, the pleadings, any opposition thereto, and good cause to modify the stay

having been found

                     IT IS HEREBY ORDERED THAT:

                     1.       The Motion is granted to the extent set forth herein.

                     2.       Movants are granted relief from the automatic stay to continue prosecuting

the State Court Actions (including any appeal(s) thereto) and otherwise resolve and liquidate

Movants’ unliquidated claims.

                     3.       Movants shall be entitled to liquidate and satisfy any judgment, verdict,

settlement, or other resolution Movants (or any one of them) may obtain from any applicable

insurance coverage.




1
             Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
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               4.      The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation and enforcement of this Order.

Dated:                       , 2019
         White Plains, New York



                                              THE HONORABLE ROBERT D. DRAIN
                                              UNITED STATES BANKRUPTCY JUDGE




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